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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

   SANDOZ INC. AND RAREGEN,                 Civil Action No. 3:19-cv-10170-BRM-
   LLC,                                     LHG

                              Plaintiffs,

               v.                              Honorable Brian R. Martinotti,
                                                         U.S.D.J.
   UNITED THERAPEUTICS
   CORPORATION AND SMITHS                     Return Date: November 18, 2019
   MEDICAL ASD, INC.,                            Oral Argument Requested

                             Defendants.

    UNITED THERAPEUTICS CORPORATION AND SMITHS MEDICAL
     ASD, INC.’S REPLY IN SUPPORT OF MOTION FOR SANCTIONS
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        Plaintiffs’ November 4 Opposition blithely declares that Plaintiffs’ wrongful

  disclosure was corrected within hours with no harm whatsoever to Defendants. At

  the same time they filed that brief, Plaintiffs were concealing a critical fact from

  Defendants and the Court:




                                           As a result, Defendants have suffered harm

  the Stipulated Confidentiality Order was designed to prevent.




        In their November 6 letter to the Court, Plaintiffs contend that Defendants

  brought this result upon themselves by seeking to enforce the Court’s order. This

  victim-shaming is not a defense of their conduct, but it is all Plaintiffs have left.

        On these facts, Defendants’ case for sanctions could not be more

  straightforward. Plaintiffs publicly filed Defendants’ confidential material in

  violation of the Court’s order. Plaintiffs then failed to remediate that wrongful

  disclosure, foisting the burden on Defendants. Throughout this episode, Plaintiffs

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  have engaged in a pattern of delay and concealment: first failing to inform

  Defendants of the breach (Defendants had to contact Plaintiffs) and then



                           As a result, Defendants have been forced to expend

  valuable time and resources to mitigate the harm stemming from Plaintiffs’

  conduct, much of which is still unfolding. Plaintiffs and their counsel should be

  sanctioned for exposing Defendants’ confidential information and then shirking

  their ongoing duty to secure that information.

                         FACTS IN RESPONSE TO
                PLAINTIFFS’ SUPPLEMENTAL LETTER BRIEF

        Recent developments underscore the Plaintiffs’ mindset towards their

  unacceptable behavior. On November 4, 2019, Plaintiffs filed their opposition to

  Defendants’ sanctions motion. Dkt. Nos. 139, 145. Accompanying the opposition

  were nineteen pages of sworn declarations, purporting to describe the relevant

  timeline and facts,




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                 Exhibit B at 11/1/2019 3:17.

        As with Plaintiffs’ initial breach of the protective order, Defendants

  immediately went to work to mitigate the publication of their confidential

  information.




                               Exhibit D at 11/6/2019 5:26 P.M.




                                       Plaintiffs have offered no explanation why

  they waited nearly a week to inform Defendants or the Court, or why they made no

  mention of these facts in their opposition papers. Instead, Plaintiffs’ opposition

  represented to the Court that their wrongful disclosure had been “corrected”

  “within hours” and that they had “caused no harm to Defendants.” Dkt. No. 139 at

  1; see also Dkt. No. 145 at 1 (incorporating RareGen’s opposition brief by

  reference).

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                                    ARGUMENT

  I.    Rule 37(b) Sanctions Are Warranted
        Plaintiffs’ conduct easily satisfies the standard for imposing sanctions under

  Rule 37(b). As a threshold matter, Plaintiffs try to duck responsibility by arguing

  that Rule 37(b) is inapplicable as a matter of law. Dkt. No. 139 at 9–10. Contrary

  to Plaintiffs’ contention, courts in the Third Circuit and beyond routinely impose

  sanctions under Rule 37(b) for negligent or inadvertent violations of protective

  orders, including confidentiality orders. See, e.g., Grant Heilman Photography,

  Inc. v. Pearson Educ., Inc., 2018 WL 2414984, at *1–4 (E.D. Pa. May 29, 2018)

  (Rule 37(b) sanctions, including attorneys’ fees, for a purportedly inadvertent

  violation of a confidentiality order); York Grp., Inc. v. Pontone, 2014 WL

  3811014, at *7–8 & n.7, *12 (W.D. Pa. Aug. 1, 2014) (contempt under Rule 37(b)

  for purportedly inadvertent disclosure of confidential information); Smith & Fuller,

  P.A. v. Cooper Tire & Rubber Co., 685 F.3d 486, 488 (5th Cir. 2012) (Rule 37(b)

  sanctions for a law firm’s inadvertent dissemination of confidential information,

  including attorneys’ fees for litigating the violation); Sound View Innovations, LLC


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  v. Hulu, LLC, 2018 WL 6038288, at *2–3 (C.D. Cal. July 23, 2018); Clearly Food

  & Beverage Co., Inc. v. Top Shelf Beverages, Inc., 2015 WL 1263338, at *1–3

  (W.D. Wash. Mar. 18, 2015); Bead Filters Int’l, LLC v. Mills, 2009 WL 3837863,

  at *1–3 (W.D. Tex. Nov. 12, 2009).

        The cases cited by Plaintiffs for the proposition that Rule 37 does not apply

  to inadvertent protective order violations are inapposite. See Dkt. No. 139 at 9–10.

  Most of the cases do not address a motion for sanctions under Rule 37(b). See

  Lookout Windpower Holding Co., LLC v. Edison Mission Energy, 2011 WL

  13238016, at *2–3 (W.D. Pa. Feb. 22, 2011) (civil contempt outside Rule 37(b)

  context); Vidal v. Experian Info. Sols., Inc., 2005 WL 281200, at *1 (E.D. Pa. Feb.

  3, 2005) (no sanctions motion pending); Saunders v. Vinton, 554 F. App’x 36, 39

  (2d Cir. 2014) (Fed. R. App. P. 46(c)); Oneida Indian Nation v. Cty. of Oneida,

  802 F. Supp. 2d 395, 400–01 (N.D.N.Y. 2011) (Fed. R. Civ. P. 12(f) and 37(c)).

        The Rule 37(b) cases that Plaintiffs do cite each recognized that sanctions

  could apply for protective order violations but declined to impose them because

  their facts involved a far less serious protective order violation, a request for

  sanctions far greater than sought here, or both. See Perez v. Corpus Christi Indep.

  Sch. Dist., 2018 WL 1518556, at *9 (S.D. Tex. Mar. 28, 2018) (declining to strike

  summary judgment response but recognizing that sanctions are available to enforce

  protective order); Youngevity Int’l, Corp. v. Smith, 2019 WL 1542300, at *6, 14–

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  16 (S.D. Cal. Mar. 9, 2019) (declining to grant dismissal and evidentiary sanctions

  but recognizing applicability of Rule 37(b)); Philpot v. Microbilt Corp., 2018 WL

  834619, at *7 (W.D. Ky. Feb. 12, 2018) (declining to impose Rule 37(b) sanctions

  but recognizing their applicability).

          Plaintiffs’ reliance on the Eleventh Circuit’s decision in Lipscher v. LRP

  Publ’ns, Inc., 266 F.3d 1305 (11th Cir. 2001) to argue that Rule 37 does not apply

  to protective order violations also falls short. Dkt. No. 139 at 12. The Fifth Circuit

  has expressly rejected Lipscher’s reasoning, see Cooper Tire, 685 F.3d at 489, and

  courts within the Third Circuit have implicitly rejected it, see Grant Heilman, 2018

  WL 2414984, at *2–5; York Grp., 2014 WL 3811014, at *9–10, *12. Even under

  the Eleventh Circuit’s narrow application of Rule 37(b), the Stipulated

  Confidentiality Order is “an order to provide or permit discovery” because it

  governs how discovery is to be treated. See Cooper Tire, 685 F.3d at 489–90.

  Rule 37(b) sanctions are available and justified for Plaintiffs’ violation of the

  Stipulated Confidentiality Order, and Plaintiffs should be sanctioned under that

  rule.

          A.    Imposing Sanctions on Plaintiffs Is Just
          Plaintiffs implicitly concede that their failure to abide by the Court’s order

  was not “substantially justified.” Fed. R. Civ. P. 37(b)(2)(C). Plaintiffs only argue

  that “other circumstances make an award of expenses unjust.” Id.; see Dkt. No.


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  139 at 13. Specifically, Plaintiffs cite out-of-circuit precedent for the proposition

  that the presence of good faith may be a consideration in determining whether

  imposing sanctions would be unjust. Dkt. No. 139 at 13 (citing Hyde & Drath v.

  Baker, 24 F.3d 1162, 1171 (9th Cir. 1994)). In the Third Circuit, good faith is not

  a defense to sanctions under Rule 37(b). See York Grp., 2014 WL 3811014, at *5

  (citing Robin Woods Inc. v. Woods, 28 F.3d 396, 400 (3d Cir. 2004)).

        Even if such a consideration were permitted, Plaintiffs did not attempt to

  comply with the Stipulated Confidentiality Order in good faith. The order imposes

  a duty on the attorneys of record to employ “reasonable measures to control,

  consistent with the Confidentiality Order, duplication of, access to, and distribution

  of Protected Information.” Dkt. No. 55 ¶ 34. Plaintiffs repeatedly failed to do so.

  See infra Part II.B.




        Defendants should not have to bear expenses reasonably incurred to address

  and remediate Plaintiffs’ wrongful conduct. To decide otherwise would turn a

  foundational principle of equity on its head: as between an innocent party and a

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  negligent party, the loss should fall on the negligent party. See, e.g., Fordham v.

  Oldroyd, 171 P.3d 411, 416 (Utah 2007); Sepega v. DeLaura, 167 A.3d 916, 920

  (Conn. 2017). The Court should not countenance Plaintiffs’ pattern of

  noncompliance and should impose Rule 37(b) sanctions to penalize Plaintiffs and

  their attorneys, the culpable parties.

        B.     Defendants Have Suffered Harm
        It is Plaintiffs’ burden to show the harmlessness of their violation. See

  Pfizer Inc. v. Teva Pharm. USA, Inc., 2006 WL 2938723, at *4 (D.N.J. Oct. 13,

  2006) (“The burden is on the party facing sanctions to prove that the violation was

  justified or harmless.”); Fed. R. Civ. P. 37, 1970 Advisory Comm. Notes to Rule

  37(b); but see Dkt. No. 139 at 14. Nevertheless, Defendants have suffered harm at

  Plaintiffs’ hands by being forced to incur attorneys’ fees and costs to mitigate the

  proliferation of Defendants’ confidential information. Defendants would not have

  incurred these fees and costs but for Plaintiffs’ carelessness. In addition,

  Defendants had to divert resources away from preparing their opposition to

  Plaintiffs’ motion for a preliminary injunction to address the wrongful disclosure.

        Defendants’ harm persists.




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  Defendants did exactly what a party with confidential proprietary information

  should do upon learning of an unauthorized disclosure—they sought to safeguard

  the information as best as possible under the circumstances. See Exhibit C; see

  also Howmedica Osteonics Corp. v. Zimmer, Inc., 2012 WL 5554543, at *9

  (D.N.J. Nov. 14, 2012) (efforts to maintain secrecy essential to invoking trade

  secret protection). It is absurd for Plaintiffs to blame Defendants when fault rests

  plainly and entirely on Plaintiffs’ shoulders. Their carelessness with Defendants’

  confidential information and recent tactical delay caused Defendants’ continued

  harm. To willfully keep Defendants in the dark about these issues for nearly a

  week and then blame them for the resulting harm is shameless.

        Plaintiffs argue that Defendants have suffered no harm because most of the

  confidential information in Plaintiffs’ brief is not properly sealable by the

  Court. As an initial matter, Plaintiffs acknowledge that the information disclosed

  by Plaintiffs is protected by the confidentiality order. See Dkt. No. 121-6 at 9.

  And, as described in Defendants’ initial sanctions papers, Dkt. No. 121-1 at 9,

  Plaintiffs’ unredacted brief contains trade secret and other information that meets

  the sealing standard.

          Plaintiffs do not seriously contest that point. Plaintiffs do not argue that all

  of Defendants’ disclosed confidential information would fail to meet the sealing

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  standard. As a result, Plaintiffs implicitly concede that their brief does include

  information that would satisfy the sealing standard. Plaintiffs’ improper disclosure

  of that material therefore harms Defendants and properly subjects Plaintiffs to

  sanctions.

  II.   Sanctions Are Warranted under the Court’s Inherent Authority
        In the circumstances present here, the Court also may impose sanctions

  pursuant to its inherent authority. Plaintiffs imply that the Court must find

  Plaintiffs in civil contempt to impose sanctions under its inherent authority. Dkt.

  No. 139 at 9. That is inaccurate. See Eash v. Riggins Trucking Inc., 757 F.2d 557,

  566 (3d Cir. 1985) (en banc) (courts have the power “to sanction errant attorneys

  financially both for contempt and for conduct not rising to the level of contempt”).

  The Third Circuit has held that it may use its inherent authority to impose

  sanctions without finding bad faith. See Republic of Philippines v. Westinghouse

  Elec. Corp., 43 F.3d 65, 74 n.11 (3d Cir. 1994). Those sanctions can be monetary

  in nature. See Eash, 43 F.3d at 566 (recognizing the propriety of “a reasonable

  monetary sanction” for an attorney’s “unjustified failure to discharge an

  administrative responsibility as an officer of the court”).

        Plaintiffs attempt to avoid sanctions by invoking the Third Circuit’s doctrine

  of substantial compliance. See Dkt. No. 139 at 9. Under that doctrine, Plaintiffs

  must show that (1) they took all reasonable steps necessary to comply with the


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  Court’s order and (2) violated the order in a manner that is merely technical or

  inadvertent. F.T.C. v. Lane Labs-USA, Inc., 624 F.3d 575, 582 (3d Cir. 2010).

  Their conduct falls far short.

        A.       Plaintiffs’ Filing Process Was Not Reasonable
        Plaintiffs relied on a clerk to file Defendants’ highly confidential

  information with the Court. This was unreasonable, especially under the

  circumstances. If counsel of record is going to delegate its obligations under a

  court’s protective order, they cannot avoid responsibility when those obligations go

  unfulfilled. This is especially true here, where the Court’s order expressly charges

  the “attorneys of record” with responsibility for compliance with the order. Dkt.

  No. 55 ¶ 34.

        Plaintiffs themselves eventually concluded delegating their obligations was

  unreasonable. After they realized that their clerk had filed the confidential brief on

  the public docket, a Quinn Emanuel attorney of record took over the filing of the

  remaining preliminary injunction materials. See Dkt. No. 141 (Christenson

  Decl.) ¶ 8.

        B.       Plaintiffs’ Post-Filing Violations Were Not Inadvertent
        Regardless of the reasonableness of Plaintiffs’ filing process, Plaintiffs

  should be sanctioned because their post-filing actions were not inadvertent and

  constitute bad faith. Plaintiffs’ obligations under the protective order continued


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                                   CONCLUSION

        Under Rule 37(b) and the Court’s inherent authority, Defendants are entitled

  to the reasonable attorney’s fees and costs that they have incurred mitigating the

  harm caused by Plaintiffs’ wrongful conduct and bringing those matters to the

  Court’s attention. At the Court’s request, Defendants will file a declaration

  enumerating those fees and costs. The Court should permit Defendants to

  supplement their showing in the event Defendants suffer additional harm.




          Defendants seek any additional sanctions that the Court deems appropriate.




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  Respectfully submitted,

  /s/ Stephen M. Orlofsky                    November 12, 2019
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                           CERTIFICATE OF SERVICE

        I, Stephen M. Orlofsky, certify that on this date, I caused a copy of the

  foregoing Reply in Support of Motion for Sanctions and Declaration of

  Christopher T. Berg to be served upon all counsel of record via the Court’s ECF

  system and email.


  Dated: November 12, 2019                     /s/ Stephen M. Orlofsky
                                               STEPHEN M. ORLOFSKY
